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                                  UNITED STATES DISTRICT COURT
                                      DISTRICT OF CONNECTICUT
-----------------------------------------------------------------X
NADINE WEINGARTEN,

                                                                      Civil Action No.:
                                   Plaintiff(s),

                 -against-
                                                                      CLASS ACTION COMPLAINT
TRANS CONTINENTAL CREDIT
AND COLLECTION CORP.,
                                                                      DEMAND FOR JURY TRIAL
                                    Defendant(s).
------------------------------------------------------------------X

        Plaintiff NADINE WEINGARTEN (“Plaintiff”), by and through her attorneys, M.

Harvey Rephen & Associates, P.C., as and for its Complaint against the Defendant,

TRANS CONTINENTAL CREDIT AND COLLECTION CORP., hereinafter referred to as

Defendant(s)”, respectfully sets forth, complains and alleges, upon information and

belief, the following:

                          INTRODUCTION/PRELIMINARY STATEMENT

        1.        Plaintiff brings this action on her own behalf for damages and declaratory

and injunctive relief arising from the Defendant’s violation(s) of §1692 et seq. of

Title 15 of the United States Code, commonly referred to as the Fair Debt

Collections Practices Act (“FDCPA”), and New York General Business Law §349

prohibiting unfair and deceptive practices.

                                                   PARTIES

        2.       Plaintiff is a resident of the State of Connecticut, with a residence at 399

Cascade Rd., Stamford, CT 06903.

        3.        Defendant is TRANS CONTINENTAL CREDIT AND COLLECTION CORP.

is a New York corporation engaged in business of collecting debts with its principal place of
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business located in White Plains, New York.

       4.      Defendant is a “debt collector” as the phrase is defined and used in the

FDCPA under 15 USC §1692a (6).

                               JURISDICTION AND VENUE

       5.      The Court has jurisdiction over this matter pursuant to 28 USC §1331, as

well as 15 USC §1692 et seq. and 28 U.S.C. §2201. If applicable, the Court also has

pendent jurisdiction over the state law claims in this action pursuant to 28 U.S.C.

§1367(a).

       6.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2).

                               ALLEGATIONS FOR CLASS ACTION

       7.      Plaintiff brings this action as a class action, pursuant to Federal Rules of

Civil Procedure (“FRCP”) Rule 23 on behalf of himself and all persons/consumers, along

with their successors in interest, who have received similar debt collection notices and/or

letters/communications from the Defendant which, as alleged herein, are in violation of

the FDCPA, as of the date of Plaintiff’s Complaint (the “Class”). Excluded from the

Class is the Defendant herein, and any person, firm, trust, corporation, or other entity

related to or affiliated with the defendant, including, without limitation, persons who are

officers, directors, employees, associates or partners of the Defendant.

       8.      This Class satisfies all the requirements of FRCP Rule 23 for maintaining

a class action.

       9.      The Class is so numerous that joinder of all members is impracticable.

Upon information and belief, hundreds of persons have received debt collection notices

and/or letters/communications from the Defendant which violates various provisions of

the FDCPA.
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       10.    The debt collection notices and/or letters/communications from the

Defendant, received by the Class, are to be evaluated by the objective standard of the

hypothetical “least sophisticated consumer”.

       11.    There are questions of law and fact which are common to the Class and

which predominate over questions affecting any individual Class member. These

common questions of law and fact include, without limitation: (i) Whether the Defendant

violated various provisions of the FDCPA; (ii) Whether Plaintiff and the Class have been

injured by the Defendant’s conduct; (c) Whether Plaintiff and the Class have sustained

damages and are entitled to restitution as a result of Defendant’s wrongdoing and, if so,

what is the proper measure and appropriate statutory formula to be applied in

determining such damages and restitution; and, (iv) Whether Plaintiff and the Class are

entitled to declaratory and/or injunctive relief.

       12.    Plaintiff’s claims are typical of the claims of the Class, and Plaintiff has no

interests adverse or antagonistic to the interests of other members of the Class.

       13.    A class action is superior to other methods for the fair and efficient

adjudication of the claims herein asserted, this being specifically envisioned by

Congress as a principal means of enforcing the FDCPA as codified by 15 USC

§1692(k).

       14.    The members of the Class are generally unsophisticated individuals,

whose rights will not be vindicated in the absence of a class action.
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       15.    A class action will permit a large number of similarly situated persons to

prosecute their common claims in a single forum simultaneously, efficiently, and without

the duplication of effort and expense that numerous individual actions would engender.

Class treatment also will permit the adjudication of relatively small claims by many Class

members who could not otherwise afford to seek legal redress for the wrongs

complained of herein.

       16.    Plaintiff will fairly and adequately represent the Class members’ interests in

that the Plaintiff’s counsel is experienced and, further, anticipates that no impediments in

the pursuit and maintenance of the class action as sought herein.

                                 FACTUAL ALLEGATIONS

       17.    Plaintiff repeats, reiterates and incorporates the allegations contained in

paragraphs numbered “1” through “16” herein with the same force and effect as if the

same were set forth at length herein.

       18.    On information and belief, Defendant, on behalf of a third-party, began

collecting an alleged consumer debt from the Plaintiff.

       19.    The Defendant sent the Plaintiff a collections letter stating: “This is your

last chance to clear this debt while it is still with our agency.”

       20.    On March 5, 2013, the Defendant sent the Plaintiff another collections

letter which contradicted what was said above in the first letter. The second letter

states: “Should we not receive payment from this demand, we will have no alternative

but to have our Collection Supervisor review this account for recommendation as to our

next step in the collections process”.

       21.    Therefore, the statement in the first collection letter from the Defendant

was false, deceptive and misleading as indicated by what was said in the second letter.
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The second communication proves that the first communication was not the last time to

resolve the debt.

                                 FIRST CAUSE OF ACTION
                                 (Violations of the FDCPA)

         22.    Plaintiff repeats, reiterates and incorporates the allegations contained in

paragraphs numbered “1” through “21” herein with the same force and effect as if the

same were set forth at length herein.

         23.    The Defendant violated 15 USC §1692e – preface prohibits a debt

collector from using any false, deceptive or misleading statements in connection with the

collection of a debt.

         24.    The Defendant violated 15 USC §1692e – preface by sending two

collection letters with contradictory, false and untrue statements to the Plaintiff. The first

stated that it was the last chance for the Plaintiff to resolve the settlement with the

Defendant and the second said they were reviewing it to make a further determination.

         25.    As a result of Defendant’s violations of the FDCPA, Plaintiff has been

damaged and is entitled to damages in accordance with the FDCPA.

                              DEMAND FOR TRIAL BY JURY

         26.    Plaintiff NADINE WEINGARTEN hereby respectfully requests a trial by

jury for all claims and issues in its Complaint to which it is or may be entitled to a jury

trial.

                                   PRAYER FOR RELIEF

         WHEREFORE, Plaintiff NADINE WEINGARTEN demands judgment from the

Defendants TRANS CONTINENTAL CREDIT AND COLLECTION CORP. :as follows:

                A.      For actual damages provided and pursuant to 15 USC
§1692k(a)(1);
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               B.   For statutory damages provided and pursuant to 15 USC §1692k(2)(A);

               C.   For statutory damages provided and pursuant to 15 USC §1692k(2)(B);

               D.   For attorneys’ fees and costs provided and pursuant to 15 USC

§1692k(a)(3)

               E.   A declaration that the Defendant’s practices violated the FDCPA;

               F.   For any such other and further relief, as well as further costs, expenses

and disbursements of this action, as this Court may deem just and proper.


Dated:         New York, New York
               February 28. 2014

                                  Respectfully submitted,

                                         /s/ Daniel G. Ruggiero

                                  By: _______________________
                                  Daniel G. Ruggiero, Esq. (Juris # 427574)
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                           Attorney for the Plaintiff Nadine Weingarten and The Class
